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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-mj-42
KLETE DERIK KELLER, : VIOLATIONS:
: 18 U.S.C. § 231(a)(3)
Defendant. : (Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(E)

(Impeding Passage Through the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, KLETE DERIK KELLER
committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement officer, that is, an officer from the United States Capitol, lawfully engaged in the

lawful performance of his/her official duties incident to and during the commission of a civil
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disorder, and the civil disorder obstructed, delayed, and adversely affected the conduct and
performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, KLETE
_ DERIK KELLER attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, by entering and remaining in the United States
Capitol without authority and committing an act of civil disorder, threatening Congressional]
officials, and engaging in disorderly and disruptive conduct.
(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
COUNT THREE
On or about January 6, 2021, in the District of Columbia, KLETE DERIK KELLER did
_unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting, without lawful authority to
do so.
(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))
COUNT FOUR
On or about January 6, 2021, in the District of Columbia, KLETE DERIK KELLER did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
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restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.
(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
COUNT FIVE
On or about January 6, 2021, in the District of Columbia, KLETE DERIK KELLER
willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol
Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of
Congress and either House of Congress, and the orderly conduct in that building ofa hearing before
or any deliberation of, a committee of Congress or either House of Congress.
(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
COUNT SIX
On or about January 6, 2021, in the District of Columbia, KLETE DERIK KELLER
willfully and knowingly obstructed, and impeded passage through and within, the United States
Capitol Grounds and any of the Capitol Buildings.

(Impeding Passage Through the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(E))
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COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, KLETE DERIK KELLER
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Alek 2ndjnn fre

Attorney of the United States in
and for the District of Columbia.
